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 1   LAW OFFICES OF CHRIS COSCA
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 3   (916) 440-1010
 4   Attorney for Defendant
     KENNETH GEORGE EATON
 5
 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                            )    No. 2:11-CR-00323 JAM
10                                                        )
                    Plaintiff,                            )    STIPULATION AND ORDER TO
11                                                        )    MODIFY JUDGMENT RE PRISON
            vs.                                           )    RECOMMENDATION
12                                                        )
     KENNETH GEORGE EATON,                                )
13                                                        )
                                                          )
14                  Defendant.                            )
15
16                                          STIPULATION
17          The parties, through their undersigned counsel, hereby stipulate and agree to modify the
18   judgment in this matter as follows:
19          Instead of the recommendation for placement at the Federal Institutions in Dublin or
20   Atwater or Sheridan, the recommendation shall be for placement at Herlong or Lompoc or
21   Sheridan.
22
23
24   DATED: June 12, 2013                        by:    /s/ Chris Cosca
                                                        CHRIS COSCA
25                                                      Attorney for Defendant
26                                                      KENNETH GEORGE EATON

27   DATED: June 12, 2013                        by:    /s/ Jared Dolan
                                                        JARED DOLAN
28                                                      Assistant U. S. Attorney

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 1
                                      ORDER
 2
       IT IS SO ORDERED.
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 4
 5
     DATED: 6/13/2013                        /s/ John A. Mendez_________________
 6                                           JOHN A. MENDEZ, JUDGE
 7                                           UNITED STATES DISTRICT COURT

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